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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS                     OCT 1 1 2017
                                 SHERMAN DIVISION
                                                                           Clerk, U.S. District Court
                                                                                Texas Eastern
  UNITED STATES OF AlvfERICA                    §
                                                §
  v.                                            §   No. 4:17CR /77
                                                §   Judge '1~1.LAN.,­
  ARLANDO JACOBS (1)                            §
  CLARENCE ROLAND (2)                           §

                                        INDICTMENT

  THE UNITED STATES GRAND JURY CHARGES:

                                            Count One

                                                    Violation: 18 U.S.C. § 1349 (Conspiracy
                                                    to Commit Wire Fraud)


       A. INTRODUCTION

 At all times material to the indictment:

             1.   The "Southridge Property" was a residence located at 10309 Southridge

 Drive in Rancho Cucamonga, California. The Bank of New York Mellon owned the

 mortgage loan secured by the Southridge Property.

             2.   The "Caminito Property" was a residence located at 1644 Caminito

 Barlovento, Unit 98, La Jolla, California. Wells Fargo Bank serviced the mortgage loan

 secured by the Caminito Property.

             3.   The "Fawn Villa Property" was a residence located at 15502 Fawn Villa
       "'-
 Drive in Houston, Texas. Bank of America, N .A ("Bank of America") owned the

 mortgage loan secured by the Fawn Villa Property.

 Indictment-Jacobs and Roland
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